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                  EXHIBIT 1
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JS44 (Rev.09/11)                                  CIVIL   COVER    SHEET
The        JS 44 civil coversheet and the informationcontained herein neitherreplace nor supplementthe filing and service ofplcadings orotherpapers as required by law except« provided
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                        This form,
                             form, approved by the Judicial Conference ofthe United States in September 1974, is required for the use ofthe Clerk ofCourt for the purpose ofinitiating
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th'ecivil docket sheet. (SIXINSTRUCTIONS ONNHXT PACK OF THIS 1-OltM.)

I. (a) PLAINTIFFS                                                                                                               DEFENDANTS
SECURITIES AND EXCHANGE COMMISSION                                                                                            Recycle Tech, Inc.; SEPE, Kevin; HALPERIN, Ronny J; GONZALEZ,
                                                                                                                              Ryan; OTC Solutions LLC; THOMPSON, Anthony; Pudong LLC;
                                                                                                                              FUNG, Jay; REES, David; Charter ConsultingGroup, Inc.
         (b) County of Residence of FirstListed Plaintiff                                                                      County of Residence of First Listed Defendant                    Miami-Dade
                                         (KXCIil'TINU.S. PUINT1FFCASUS)                                                                                       (IN US. PIAINTII-I- CASUSONLY)
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                                                                                                                                Attorneys (IfKnown)
    JaJnislMs'o^                                                                  Suite 1800
    Miami, FL 33131; Tel. (305) 982-6328

    II. BASIS OF JURISDICTION                                   (Place an "X" inOne BoxOnly)                       III. CITIZENSHIP OF PRINCIPAL PARTIES(Placean "X'inOncHoxfarPlamtiJf)
                                                                                                                            (For Diversity Cases Only)                                              anil One BoxfarDefendant)
    <X I     U.S. Government                    O 3 Federal Question                                                                                    PTF      DEF                                                    PTF       DEF
                Plaintiff                             (U.S. Government Not a Party)                                   Citizen ofTliisStale              CM       O I          Incorporated or Principal Place           O 4       CM
                                                                                                                                                                              of Business In This Stale


O 2          U.S. Government                    •    4    Diversity                                                   Citizen of Another State          O   2    O      2     Incorporated ami Principal Place          O     5   O   5

                Defendant                                   (Indicate Citizenship ofPartiesin Hem III)                                                                            of Business In Another Slate

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                                                                                                                          Foreign Country

    IV. NATURE OF SUIT (Place an "X" in One Box Only)
|        CONTRACT                        '-.'-- TORTS                                   --                                FORFEITURE/PENALTY                         BANKRUPTCY                            OTHER STATirTES                 1

    •    110 Insurance                              PERSONAL INJURY                    PERSONAL INJURY                O 625 Drug RelatedSeizure             O 422 Appeal 28 USC 158                 O 375 False Claims Act
    0 120 Marine                            O 310 Airplane                       CI 365 Personal Injury -                     of Property 21 USC881         a 423 Withdrawal                        •   400 Slate Reapportionment
    O 130 Miller Act                        O 315 Airplane Product                      Product Liability             •   690 Other                                  28 USC 157                     O   410 Antitrust
    O 140 Negotiable Instrument                   Liability                      a      367 Health Care/                                                                                            O 430 Banks and Banking
    • 150 Recoveryof Overpayment O 320 Assault, Libel &                                      Pharmaceutical                                                     PROPERTY RIGHTS                     •   450 Commerce
          & Enforcement of Judgment       Slander                                            Personal Injury                                                O 820 Copyrights                        O 460 Deportation
    O 151 Medicare Act              O 330 Federal Employers'                                 Product Liability                                              O 830 Patent                            O 470 Racketeer Influenced and
    O 152 Recovery of Defaulted           Liability                               •     368 Asbestos Personal                                               • 840 Trademark                                 Corrupt Organizations
               Student Loans                • 340 Marine                                      Injury Product                                                                                        O 480 Consumer Credit
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    0 153 Recoveiy of Overpayment                        Liability                    PERSONAL PROPERTY 0 710 Fair Labor Standards                          O 86IHIA(l395ff)                        S   850 Securities/Commodities/
               or Veteran's Benefits        0 350 Motor Vehicle                   O     370 Other Fraud                        Act                          O 862 Black Lung (923)                        Exchange
    O 160 Stockholders' Suits               O 355 Motor Vehicle                   a     371 Truth in Lending          a 720 Labor/Mgmt. Relations           O 863 DIWC/DIWW (405(g))                D 890 Other Statutory Actions
    O 190 Other Contract                                 Product Liability        a     380 Other Personal            O 740 Railway Labor Act               •   864 SS1D Title XVI                  O 891 Agricultural Acts
    O 195 Contract Product Liability        O 360 Other Personal                        Property Damage               • 751 Family and Medical              O 865 RSI (405(g))                      D   893 Environmental Mailers
    O 196 Franchise                               Injury                          O 385 Property Damage                        Leave Act                                                            O 895 Freedom of Information
                                            O 362 Personal Injury -                     Product Liability             O 790 Other Labor Litigation                                                          Act
                                                       Med. Malpractice                                               O 791 Empl. Ret. Inc.                                                         O   896 Arbitration
1      REAL PROPERTY                                 CIVIL RIGHTS                     PRISONER PETITIONS                    Security Act                        FEDERAL TAX SUITS                   O   899 Administrative Procedure
 0 210 Land Condemnation                    O       440 Other Civil Rights        •     510 Motions to Vacate                                               a 870 Taxes (U.S. Plaintiff                   Act/Review or Appeal of
    O 220 Foreclosure                       O       441 Voting                                Sentence                                                            or Defendant)                           Agency Decision
    O 230 Rent Lease & Ejectment            O       442 Employment                •     Habeas Corpus:                                                      O 871 IRS—Third Party                   O 950 Constitutionality of
    a 240 Torts to Land                     D       443 Housing/                  O     530 General                                                                  26 USC 7609                            State Statutes
    O 245 Tort Product Liability                         Accommodations           a     535 Death Penalty                      IMMIGRATION
    0 290 All Other Real Property           O 445 Amer. w/Disabilitics -          O     540 Mandamus & Other          O 462 Naturalization Application
                                                         Employment               O 550 Civil Rights                  13 463 Habeas Corpus -
                                            •       446 Amer. w/Disabililies -    O     555 Prison Condition                  Alien Detainee
                                                        Other                     O     560 Civil Detainee -                (Prisoner Petition)
                                            •       448 Education                             Conditions of           O 465 Other Immigration
                                                                                              Confinement                     Actions


    V. ORIGIN                      (Place an "X" in One Box Only)                                                                               ,    Transferred from
    Of I Original              •       2 Removed from                  O 3       Remandedfrom                  •    4 Reinstated or        O    -*   another district         a    6   Multidistrict
               Proceeding                State Court                             Appellate Court                      Reopened                       fstKciM                           Litigation
                                                      Cite the U.S. Civil Statute under which you are filing (Donotcitejurisdictional statutes unlessdiversity):
                                                         15 U.S.C. §§ 77e(a). 77e(c), 77q(a), 77q(b), 78j(b), 78m(ai; 17 C.F.R. §§ 240.10b-5.240.13a-1.240.13a-13
    VI. CAUSE OF ACTION Briefdescription ofcause:
                                                         violation of federal securities laws
    VII. REQUESTED IN                                 O CHECK IF THIS IS A CLASS ACTION                                    DEMANDS                                          CHECK YES only if demanded in complaint:
               COMPLAINT:                                   under f.r.c.p. 23                perm ini ,                   disgorgement, civ                                 jury demand:                  o Yes          a No
    VIII. RELATED CASE(S)                                                               penalties; P/S, O/D & PLS bars
                                                          (See instructions):
                 IF ANY                                                           judge                                                                         docket number

        DATE                                                                            SIGNATURE OF ATTORNEY OF RECORD

           May 2, 2012                                                                 Is/ James M. Carlson
        FOR OFFICE USE ONLY


         RECEIPT «                       AMOUNT                                              APPLYING IFP                                       JUDGE                                  MAG. JUDGE



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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                           CASE NO.

 SECURITIES AND EXCHANGE                )
 COMMISSION,                            )
                                        )
                         Plaintiff,     )
 v.                                     )
                                        )
 RECYCLE TECH, INC., KEVIN SEPE, )
 RONNY J. HALPERIN, RYAN                )
 GONZALEZ, OTC SOLUTIONS LLC,           )
 ANTHONY THOMPSON, PUDONG LLC, )
 JAY FUNG, and DAVID REES,              )
                                        )
                         Defendants,    )
 and                                    )
                                        )
 CHARTER CONSULTING GROUP, INC., )
                                        )
                      Relief Defendant. )
 _____________________________________ )

                                         COMPLAINT

        Plaintiff Securities and Exchange Commission alleges:

                                     I. INTRODUCTION

        1.     From no later than January through March 2010, Defendants Recycle Tech, Inc.,

 Kevin Sepe, and Ryan Gonzalez orchestrated, coordinated, and funded a “pump-and-dump”

 scheme involving the sale of unregistered shares of Recycle Tech stock. They brought the

 scheme to Defendant Ronnie J. Halperin, who agreed to help them implement the scheme.

        2.     Sepe concocted the scheme in an effort to capitalize on anticipated, increased

 demand for temporary housing because of the Haitian earthquake disaster of January 12, 2010.

 Halperin, Sepe’s long-time acquaintance, and Gonzalez, a friend of Sepe’s nephew, assisted Sepe

 in executing the scheme. Gonzalez organized the conversion of Recycle Tech into a publicly-

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 traded company and drafted seven false and misleading press releases, which he then issued

 through the company.

        3.      Defendant David Rees, a securities attorney, also played a significant part in

 facilitating the fraud. Halperin retained Rees to convert Recycle Tech’s debt into more than 25

 million purportedly free trading shares.     The company then issued them to a number of

 individuals including Halperin, OTC Solutions LLC, Pudong LLC, Rees, and others.

        4.      OTC Solutions and Pudong, and their respective owners, Defendants Anthony

 Thompson and Jay Fung, actively participated in the scheme through their promotion of Recycle

 Tech stock. In January and February 2010, OTC Solutions and Pudong, both stock promotion

 companies, collectively issued five e-mail newsletters touting Recycle Tech. Thompson and

 Fung each received more than two million shares of Recycle Tech stock as compensation for

 their touting efforts.   Their newsletters, however, did not adequately disclose their stock

 compensation or Thomson and Fung’s stock sales.

        5.      Halperin, OTC Solutions, Pudong, and Rees each took advantage of the inflated

 price and trade volume created by the misleading press releases and newsletter campaign. From

 February to early March 2010, they collectively sold more than five million Recycle Tech shares

 into an inflated market and realized proceeds of more than $1.1 million. In addition, Sepe

 received at least $150,000 from the sales of Halperin’s stock.         Relief Defendant Charter

 Consulting Group, Inc., an entity controlled by Sepe, also received some of Halperin’s ill-gotten

 gains in an April 2010 wire it received from a Halperin controlled entity.

        6.      Additionally, Recycle Tech is delinquent in its periodic filings with the

 Commission. In fact, since filing its Form 10-Q on January 13, 2010, it has not filed any

 periodic reports.


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        7.      Through their conduct, each Defendant violated Sections 5(a) and 5(c) of the

 Securities Act of 1933 (“Securities Act”), 15 U.S.C. §§ 77e(a) and 77e(c). In addition:

        (a)   Recycle Tech violated Sections 10(b) and 13(a) of the Securities Exchange
              Act of 1934 (“Exchange Act”), 15 U.S.C. § 78j(b) and 78m(a), and
              Exchange Act Rules 10b-5, 13a-1 and 13a-13, 17 C.F.R. §§ 240.10b-5,
              240.13a-1, and 240,13a-13;

        (b)   Gonzalez violated Section 10(b) of the Exchange Act and Exchange Act
              Rule 10b-5, or, in the alternative, aided and abetted Recycle Tech’s
              violations of Section 10(b) of the Exchange Act and Exchange Act Rule
              10b-5, and aided and abetted Recycle Tech’s violations of Section 13(a) of
              the Exchange Act and Exchange Act Rules 13a-1 and 13a-13;

        (c)   Sepe and Halperin aided and abetted Recycle Tech’s violations of Section
              10(b) of the Exchange Act and Exchange Act Rule 10b-5;

        (d)   OTC Solutions, Pudong, Thompson, and Fung each violated Section 10(b)
              of the Exchange Act, Exchange Act Rule 10b-5, and Sections 17(a) and
              17(b) of the Securities Act, 15 U.S.C. §§ 77q(a) and 77q(b).

 Unless the Court enjoins the Defendants, they are reasonably likely to continue to violate these

 provisions of the federal securities laws.

                        II. DEFENDANTS AND RELIEF DEFENDANT

                                              A. Defendants

        8.      Recycle Tech is a Colorado company. From February 16, 2010 through June

 2010 its principal place of business was Miami, Florida. Its common stock is quoted on the OTC

 Link (formerly, “Pink Sheets”) operated by OTC Markets Group Inc. under the symbol “RCYT.”

 From no later than February 2010 to June 2010, Recycle Tech purported to be a development

 and engineering firm specializing in “green building.”

        9.      Sepe, age 54, is a resident of Miami. At the time of the scheme, he was a long-

 time acquaintance of Halperin and is listed as the officer or director of several private Florida

 companies.


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        10.      Halperin, age 63, is a resident of Aventura, Florida. He is an attorney licensed to

 practice law in Florida and is the sole member of the law firm Ronny J. Halperin, P.A. Halperin

 also served as CEO of HydroGenetics, Inc., a Florida corporation, from January 2009 until April

 2009, and served as its director from 2009 until late 2011.

        11.      Gonzalez, age 33, is a resident of Miami and a friend of Sepe’s nephew. Since

 February 16, 2010, Gonzalez has been the CEO and President of Recycle Tech.

        12.      OTC Solutions is a Maryland limited liability company formed by Thompson in

 2007 as a marketing and advertising company. From no later than January through March 2010,

 it was associated with “Explicit Picks” and “Ox of Wall Street,” both stock promotional

 newsletters.

        13.      Thompson, age 35, is a resident of Bethesda, Maryland. From no later than

 January through March 2010, he was the sole member of OTC Solutions.

        14.      Pudong is a Florida limited liability company with its principal place of business

 in Delray Beach, Florida. From no later than January through March 2010, it was a marketing

 and advertising company associated with “Penny Pic,” a stock promotional newsletter.

        15.      Fung, age 37, is a resident of Delray Beach, Florida. From at least January

 through March 2010, he was the sole member of Pudong.

        16.      Rees, age 44, is a resident of Salt Lake City, Utah. He is a corporate and

 securities attorney licensed to practice law in Utah. He is a partner at the Utah law firm Vincent

 & Rees, LLC.

                                        B. Relief Defendant

        17.      Charter Consulting is a Florida corporation, controlled by Sepe as its sole officer

 and director.


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         18.    In April 2010, Charter received a $300,000 wire from Ronny J. Halperin, P.A.

 consisting of, among other things, $150,000 in profits made through the illegal sale of Recycle

 Tech stock. Charter did not sell any goods or services to Halperin’s law firm justifying the

 $150,000 it received.

                              III. JURISDICTION AND VENUE

         19.    The Court has jurisdiction over this action pursuant to Sections 20(b), 20(d),

 20(e), 20(g), and 22(a) of the Securities Act, 15 U.S.C. §§ 77t(b), 77t(d), 77t(e), 77t(g), and

 77v(a); and Sections 21(d), 21(e), and 27 of the Exchange Act, 15 U.S.C. §§ 78u(d), 78u(e), and

 78aa.

         20.    This Court has personal jurisdiction over the Defendants, and venue is proper in

 the Southern District of Florida. At all times relevant to the actions alleged in this Complaint,

 Recycle Tech and Pudong’s principal places of business were in the District, and Sepe, Halperin,

 Gonzalez, and Fung resided in the District. Additionally, many of the Defendants’ acts and

 transactions constituting violations of the Securities Act and the Exchange Act occurred in the

 Southern District. Specifically, Rees directed documents and phone calls to the other Defendants

 located in the District. Also, during the fraud, Sepe contacted OTC Solutions and Thompson

 from the District, and Halperin sent them their compensation from the District.

         21.    In connection with the conduct alleged in this Complaint, the Defendants, directly

 and indirectly, singly or in concert with others, have made use of the means or instrumentalities

 of interstate commerce, the means or instruments of transportation and communication in

 interstate commerce, and the mails.




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                                IV. FACTUAL ALLEGATIONS

                          A. Sepe and Halperin Seek Out a Company
                          to Orchestrate the Pump-and-Dump Scheme

        22.     In January 2010, Sepe concocted a “pump-and-dump” scheme to take advantage

 of a perceived market for cheap, mobile housing in the wake of a Haitian earthquake. To

 execute the scheme, Sepe brought the scheme to Halperin, and they decided to gain control of a

 publicly-traded company.

        23.     On January 19, 2010, a week after Haiti’s catastrophic earthquake, Sepe arranged

 for Gonzalez, his nephew’s fishing buddy, to incorporate a sham private company, Green

 Building Engineering & Contractors, LLC. Headquartered in Miami, Green Buildings was

 purportedly a sophisticated builder of “home container units,” allegedly in the business of

 converting river barges into cost-effective, eco-friendly, hurricane-and-seismic-resistant, mobile

 shelters, ready to be shipped anywhere in the world.

        24.     In truth, Green Building had no operations, customers, products, sales, money, or

 revenues. It never manufactured, sold, or delivered any eco-friendly home container units. At

 most, it had two part-time employees, Gonzalez and his aunt, who were also its sole officers.

 The company’s assets consisted of a set of tools worth at most $5,000 and three unfinished

 prototypes.

        25.     With Green Building formed, Sepe and Halperin sought a suitable public shell

 company in which to reverse merge Green Building and bring it public. Within a week of Green

 Building’s incorporation, Sepe and Halperin engaged a self-proclaimed “leading provider of

 public shell companies for reverse merger transactions.” They selected Recycle Tech to use as

 the shell. At the time, it was a failed computer parts repair company with no or nominal

 operations, no or nominal assets, and a small amount of debt.

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        26.     Before obtaining Recycle Tech for Sepe and Halperin, the professional shell

 provider contacted Rees. After discussing the deal with the shell provider, Rees confirmed he

 could convert Recycle Tech’s debt into purportedly free-trading shares and issue an opinion

 letter formalizing the transaction. The professional shell provider then referred Halperin to

 Rees’s law firm, Vincent & Rees.

                   B. Halperin Hires Rees to Convert Recycle Tech’s Debt
              into Unrestricted Stock Shares and Complete the Reverse Merger

        27.     In late January 2010, Halperin retained Vincent & Rees to coordinate the

 purchase, assignment, and subsequent conversion of Recycle Tech’s debt into purportedly

 free-trading stock. Halperin also asked Rees to issue an opinion letter regarding the transactions,

 and he provided Rees with the necessary documents and signatures for the transaction.

        28.     Rees directed and supervised the drafting of the necessary documents to convert

 Recycle Tech’s debt into purportedly free trading stock. These documents included:

        (a)   the purchase and assignment agreement of Recycle Tech’s purported three
              promissory notes and subsequent assignment of stock to a list of 22
              assignees (the “Assignees”); and

        (b)   the necessary non-affiliate letters and conversion letters for the Assignees,
              whereby they ultimately received purportedly converted free trading
              Recycle Tech stock.

        29.     Halperin provided Rees’ law firm with the list of Assignees, who included

 Halperin, OTC Solutions, Pudong, Rees, and others. Halperin also coordinated the process of

 obtaining the necessary signatures from the assignees for the conversion and non-affiliate letters.

 Additionally, he provided other necessary documents to Rees’ law firm, including, a Recycle

 Tech corporate resolution.

        30.     Ultimately, Halperin wired payment to Vincent & Rees and agreed to provide

 Rees and an associate with 25,000 converted, unrestricted shares of Recycle Tech stock.

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        31.      While Rees prepared the legal documents necessary to execute the fraud, Halperin

 and Sepe set up Recycle Tech for acquisition. Based on their instructions, on January 28, 2010,

 the professional shell provider purchased the majority of Recycle Tech’s stock and the shell

 provider’s founder and president replaced the existing Recycle Tech officers as the sole officer.

        32.      At the same time, Sepe initiated the promotional side of the scheme. He engaged

 OTC Solutions and Pudong to tout Recycle Tech stock through their various newsletters. Sepe

 promised each promoter more than two million free-trading shares of Recycle Tech stock as

 compensation.

                     C. Rees Issues a False Legal Opinion Letter Making
                  Misstatements and Relying on False or Outdated Documents

        33.      Rees oversaw the drafting of a letter opining the Assignees had complied with

 Rule 144 of the Securities Act, 17 C.F.R. § 230.144 (the “Opinion Letter”), and consequently,

 did not need to register the planned offering of Recycle Tech stock. The Opinion Letter also

 stated 25 million newly-issued shares of Recycle Tech stock, converted from its debt, should be

 issued without a restricted legend.

        34.      On January 29, 2010, Rees signed the Opinion Letter and sent it to Recycle

 Tech’s transfer agent. The Opinion Letter, however, contained false representations, misapplied

 Rule 144, and relied on several false or outdated documents.

        35.      Rule 144 contains a series of conditions that, if properly met, will provide a

 reselling shareholder a safe harbor from the Securities Act’s registration requirements and allow

 resale of restricted shares of stock. Here, Recycle Tech conveyed stock to the Assignees. The

 shares, however, were restricted because they were acquired directly or indirectly from the issuer

 in a chain of transactions not involving a public offering. Moreover, the Assignees did not meet



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 Rule 144’s required conditions.      Instead, Rees misapplied the Rule’s requirements, and

 accordingly, its safe harbor was unavailable to the Assignees.

        36.     First, the Opinion Letter falsely represented that Recycle Tech was not a public

 shell company and therefore could qualify for Rule 144 safe harbor consideration. To the

 contrary, Rees received at least one communication from the shell provider indicating Recycle

 Tech was a shell company. Prior to signing the Opinion Letter, Rees never performed any due

 diligence concerning Recycle Tech’s status as a shell company.

        37.     Second, the Opinion Letter misapplied Rule 144’s holding requirements for the

 Assignees. Pursuant to Rule 144, the Assignees were required to hold the securities for six

 months from the date they bought and fully paid for the securities. The Opinion Letter, however,

 miscalculated the holding period. It incorrectly “tacked back” the Assignees’ holding time

 period to the dates Recycle Tech allegedly incurred the debt – February 26, 2008, August 1,

 2008, and June 15, 2009. In fact, there is no provision in Rule 144(d)(3) permitting such

 “tacking back.”

        38.     The proper calculation would have begun the holding period from the Assignees’

 date of acquisition of the convertible note, January 26, 2010. As a result, Rees incorrectly

 concluded the Assignees had met their twelve-month holding requirement.

        39.     Third, Recycle Tech was delinquent with respect to its obligation to file an Item

 2.01 Form 8-K reporting the completion of the reverse merger transaction and including the

 requisite audited financial statements of Green Building. Therefore, Rule 144 was not available

 under Rule 144(c)(1)(i) because of this lack of adequate current public information.




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         40.     Fourth, the Opinion Letter relied on several false or outdated documents. For

  example, two of the three promissory notes referenced in the Opinion Letter were fabricated, and

  one note was backdated more than two months. These were the very notes converted into

  purportedly unrestricted stock.

         41.     Simple due diligence – namely contacting the original holder of the debt – would

  have revealed two of the three notes were fabricated and not connected to any actual debt.

  Moreover, the third promissory note is dated June 15, 2009. To the contrary, the company

  actually incurred this debt on August 29, 2009.

         42.     The Opinion Letter also relied on an outdated board resolution authorizing the

  issuance of the shares. Recycle Tech’s old board signed the resolution, and Rees did not contact

  the new board to confirm the resolution was still effective.

                       D. Rees’ Opinion Letter Ignored Several Red Flags

         43.     The Opinion Letter also ignored several red flags concerning certain of the

  Assignees who were likely to evade registration requirements.

         44.     First, Rees failed to note the conversion of Recycle Tech’s $34,000 debt into 25

  million free trading shares would double the company’s then outstanding shares. Rees knew, or

  should have known, that some individuals receiving the shares were likely to immediately sell

  these shares into the market. For example, Rees intended to sell, and did in fact sell, the shares

  he received from Recycle Tech soon after receiving them.

         45.     Second, Rees ignored the likely affiliate status of at least one of the Assignees,

  Halperin. Pursuant to Rule 144, an affiliate of an issuer is a person who directly or indirectly,

  through one or more intermediaries, controls, or is controlled by, or is under common control

  with, such an issuer. Rees knew, or should have known, that Halperin exerted direct or indirect


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  control over Recycle Tech and was therefore an affiliate. In fact, Rees’ sole contact with

  Recycle Tech was through Halperin.

         46.     Rather than addressing Halperin’s likely affiliate status, the Opinion Letter opined

  Halperin could receive free trading shares of Recycle Tech without applying the correct limiting

  Rule 144 provisions to an affiliate’s sales of stock. Such provisions include limitations on

  amount sold, manner of sale, and required notice of proposed sale. Rees applied none of these

  limitations in the Opinion Letter.

                    E. Halperin Distributes Unrestricted Recycle Tech Stock,
                     and Green Building Reverse Merges into Recycle Tech

         47.     On January 27, 2010, Gonzalez signed the Recycle Tech corporate resolution

  authorizing the issuance of more than 25 million shares of Recycle Tech stock to the Assignees.

         48.     In early February 2010, pursuant to the Opinion Letter and the corporate

  resolution, Recycle Tech’s transfer agent issued more than 25 million shares of stock to more

  than twenty Assignees, including OTC Solutions, Pudong, and Halperin. The transfer agent sent

  the certificates to Halperin, who distributed them to the Assignees. They, in turn, deposited them

  into their respective brokerage accounts.

         49.     With a number of different assignees now holding shares, Sepe and Halperin

  sought to reverse merge Green Building into Recycle Tech.

         50.     On February 16, 2010, Sepe and Halperin orchestrated the purchase of Recycle

  Tech from the professional shell provider. Sepe paid more than $200,000 to the professional

  shell provider for Green Building’s purchase of the majority of Recycle Tech’s shares.

         51.     Halperin, in turn, provided a common stock purchase agreement to Gonzalez for

  his signature. Pursuant to this agreement, Green Building became the owner of the controlling

  majority of Recycle Tech’s shares.

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         52.     With the reverse merger completed, Gonzalez took his position as CEO and

  president of Recycle Tech.

                       F. Recycle Tech, Gonzalez, and Sepe “Pump” the Stock
                        By Issuing Seven False and Misleading Press Releases

         53.     With all of the pieces now in place, the Defendants proceeded to artificially

  inflate the value of Recycle Tech’s stock. Just two days after Green Building’s reverse merger

  into Recycle Tech, Sepe and Gonzalez initiated the “pump” of the stock.

         54.     From February 18 to 25, 2010, Recycle Tech issued seven false and misleading

  press releases. As CEO of Recycle Tech, Gonzalez had ultimate authority over the press

  releases. He drafted them, hired a public relations consultant, and provided the releases to the

  consultant. Gonzalez also instructed the consultant to issue the press releases pursuant to a time

  schedule Sepe set.

         55.     On February 18, 2010, Recycle Tech’s first press release announced Green

  Building’s acquisition of Recycle Tech. It also falsely represented Green Building as “a builder

  of ‘green’ structures made of recycled materials” and “the only builder of container homes in

  South Florida.” Neither statement was true.

         56.     Green Building never built any finished container homes. At most, it had several

  prototypes used to tout the purported product to prospective investors.

         57.     Furthermore, Green Building had existed for less than a month, during which time

  it had minimal, if any, assets, no clients, no sales, no revenues, two part-time employees, and no

  ongoing operations. It acquired and reverse merged into Recycle Tech, another entity which had

  minimal – if any – assets, limited revenues, no employees, and no ongoing operations.

         58.     Recycle Tech’s February 18, 2010 press release also falsely stated Green Building

  “has assembled a highly experienced and dedicated team of architects, engineers, and contractors

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  to create and assemble these completely green structures.” In truth, the company had hired none

  of the individuals it claimed.

         59.      Recycle Tech’s February 22, 2010 press release also falsely represented it had

  opened “a green container showroom,” unveiling emergency multiple human shelter prototypes

  for media and contractors to view. In fact, no such showroom was ever opened.

         60.      Recycle Tech’s February 23, 2010 press release falsely represented, among other

  things, the company had signed a binding letter of intent to build up to 50 homes in Haiti. The

  press release failed to disclose Recycle Tech was expected to fund the building of the 50 homes.

  It also failed to disclose Recycle Tech had no cash or any other ability to do so.

         61.      Recycle Tech’s February 24, 2010 press release falsely represented, among other

  things, Recycle Tech was “breaking ground” in a month’s time “to showcase” its “container

  building in historical Overtown located in South Florida.” At the time of the press release,

  however, the company did not have the funds, equipment, or staff required to break ground in a

  month’s time.

         62.      Recycle Tech’s February 25, 2010 press release falsely represented, among other

  things, that Recycle Tech was adding an “award winning architect to its staff.” At the time of the

  press release, however, the Company had not added such an architect. Further, the company had

  no means to do so. In fact, Recycle Tech had no staff at all.

         63.      All seven of Recycle Tech’s press releases contained the same misleading by-line:

         [Recycle Tech]…now will manufacture and deliver premium eco-friendly
         Container Homes, as well as LEED Certified Green Homes, Communities,
         Buildings, and City Structures across the world.

         64.      In truth, Recycle Tech never had the staff, resources, or equipment to

  “manufacture and deliver premium eco-friendly Container Homes.”


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                G. OTC Solutions and Pudong Tout Recycle Tech Stock without
                Properly Disclosing Their Stock Compensation or Intent to Sell

          65.      Four days after the February 18 press release, OTC Solutions and Pudong started

  touting Recycle Tech stock in their newsletters. Thompson and Fung, the respective owners of

  OTC Solutions and Pudong, had previously agreed to coordinate their touting with each other

  and with Sepe.

          66.      Before they issued their newsletters, Sepe agreed to provide Thompson and Fung

  with 2.325 million shares each of Recycle Tech stock. Halperin provided the actual shares to

  Thompson and Fung.

          67.      On February 22, 23, and 24, 2010, OTC Solutions and Pudong collectively issued

  at least five newsletters promoting Recycle Tech. Many of the newsletters reprinted portions of

  Recycle Tech’s false and misleading press releases, which Sepe had provided to Thompson and

  Fung.

          68.      Each newsletter included its own language hyping the stock. For instance, the

  various newsletters touted Recycle Tech as: a “golden opportunity;” “the type of GEM you want

  to research on before Wall Street gets a hold of it;” “a huge bargain that could be gone very

  soon!” and the Next EXPLOSIVE Stock.” None of the newsletters disclosed the newsletter

  owner’s intent to sell shares, or named the source of the stock the newsletter had received.

                       1. OTC Solutions’ Recycle Tech Touting and Scalping

          69.      Between February 22 and February 25, 2010, Thompson, through OTC Solutions,

  engaged in the fraudulent practice of “scalping,” specifically, selling the same stock his own

  reports on Recycle Tech were recommending that investors buy without disclosing the sales.

          70.      After receiving its 2.325 million shares, OTC Solutions issued at least four

  newsletters touting Recycle Tech. Specifically, on February 22, 2010 and February 24, 2010,

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  OTC Solutions touted Recycle Tech in two issues of “Explicit Picks” and two issues of “Ox of

  Wall Street.”

            71.    Also on February 22, 2010, OTC Solutions started selling its Recycle Tech

  shares.     It sold all 2.325 million shares by February 25.         These sales contradicted the

  recommendations OTC Solutions made regarding Recycle Tech.

            72.    None of OTC Solutions’ newsletters disclosed the stock compensation it received

  from Sepe for the promotional campaign, its ownership of Recycle Tech stock, or its stock sales.

  Instead, the four newsletters contained a brief disclaimer section regarding penny stocks in

  general and OTC Solutions’ registration status.

                                  2. Pudong’s Recycle Tech Touting

            73.    On February 23, 2010, Fung, through Pudong, also engaged in the fraudulent

  practice of scalping.

            74.    On February 23, after receiving its 2.325 million shares of Recycle Tech stock,

  Fung’s company, Pudong, issued at least one “Penny Pic” newsletter touting Recycle Tech. On

  the same day, Pudong sold all 2.325 million of its Recycle Tech shares. This sale contradicted

  the recommendations Pudong made regarding Recycle Tech.

            75.    Moreover, the newsletter only contained a general disclaimer. The newsletter

  disclosed:

            [w]hen Pennypic.com receives free trading shares as compensation for a profiled
            company, Pennypic.com may sell part or all of any such shares during the period
            in which Pennypic.com is performing such services.” It then specifically
            disclosed that it “has received from a third party non affiliate 2.325 million free
            trading shares of [Recycle Tech] for advertising and marketing.

            76.    The newsletter did not, however, disclose the third party’s identity or Fung’s

  Recycle Tech stock sales.


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                                H. Promotional Campaign Falsely
                           Inflates the Market for Recycle Tech Shares

         77.     In the three-month period preceding the promotional campaign, Recycle Tech had

  experienced only four days of any reported trading of its stock.

         78.     The stock price remained consistently at ten cents per share from December 10,

  2009 to February 1, 2010. From February 2, 2010 to February 16, 2010, the price of Recycle

  Tech stock stood at eleven cents per share.

         79.     From February 3 through 16, 2010, no shares of Recycle Tech were traded. On

  February 18, 2010, the day Recycle Tech issued its first press release, the company’s trading

  volume jumped to 35,000 shares from 6,000 the previous day. The day after the company issued

  its first press release, the stock volume soared to over more than 2,000,000 shares.

         80.     Over the next several days, with the addition of OTC Solutions and Pudong’s

  newsletters, the stock volume increased to more than 18 million shares traded, with an intraday

  high of 28 cents per share.

                          I. Halperin, OTC Solutions, Pudong, and Rees
                                 Dump Their Recycle Tech Stock

         81.     Taking advantage of Recycle Tech’s artificially raised stock price, a number of

  the Defendants sold their shares.

         82.     From February 23, 2010 to March 2, 2010, Halperin sold 1,130,000 shares for

  $235,060.

         83.     From February 22, 2010 to February 25, 2010, OTC Solutions sold 2,325,000

  shares for $441,722.

         84.     On February 23, 2010, Pudong sold 2,325,000 shares for $456,457.

         85.     On February 23, 2010, Rees sold 25,000 shares for $5,982.


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         86.     Sepe, who did not directly receive shares of Recycle Tech stock pursuant to the

  conversion of debt, was compensated from others’ sales of Recycle Tech stock. Halperin wired

  Sepe’s company, Charter Consulting, $300,000 from his law firm account on April 12, 2010.

  At least $150,000 of that wire came from the illegal sale of Recycle Tech stock.

            J. Recycle Tech Failed to Meet Its Registration and Filing Requirements

         87.     No registration statement was ever filed with the Commission or in effect for any

  class of Recycle Tech shares. Additionally, there was no exemption from the registration

  requirements for any of the Defendants’ stock sales.

         88.     Since its Form 10-Q filed on January 13, 2010 for the quarterly period ended

  November 30, 2009, Recycle Tech has not made any periodic filings as required. In fact, since

  Gonzalez became President of Recycle Tech, the company has been delinquent in all of its

  required filings.

                                              COUNT I

                          Sale of Unregistered Securities in Violation of
                            Sections 5(a) and (c) of the Securities Act
                                    (Against All Defendants)

         89.     The Commission repeats and realleges paragraphs 1-21, 47, 48, and 81-87 of its

  Complaint.

         90.     No registration statement was filed or in effect with the Commission pursuant to

  the Securities Act with respect to the securities and transactions described in this Complaint and

  no exemption from registration existed with respect to these securities and transactions.

         91.     From January through March 2010, the Defendants directly and indirectly:

         (a)     made use of means or instruments of transportation or communication in
                 interstate commerce or of the mails to sell securities as described herein,
                 through the use or medium of a prospectus or otherwise;


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          (b)     carried securities or caused such securities, as described herein, to be
                  carried through the mails or in interstate commerce, by any means or
                  instruments of transportation, for the purpose of sale or delivery after sale;
                  or

          (c)     made use of means or instruments of transportation or communication in
                  interstate commerce or of the mails to offer to sell or offer to buy through
                  the use or medium of a prospectus or otherwise, as described herein,
                  without a registration statement having been filed or being in effect with
                  the Commission as to such securities.

          92.     By reason of the foregoing, the Defendants violated, and, unless enjoined, are

  reasonably likely to continue to violate, Sections 5(a) and 5(c) of the Securities Act, 15 U.S.C.

  §§ 77e(a) and 77e(c).

                                               COUNT II

                             Fraud in the Offer or Sale of Securities in
                         Violation of Section 17(a)(1) of the Securities Act
                (Against Defendants OTC Solutions, Thompson, Pudong, and Fung)

          93.     The Commission repeats and realleges Paragraphs 1-21, 27-29, 31, 32, and 65-86

  of its Complaint.

          94.     From January through March 2010, OTC Solutions, Thompson, Pudong, and

  Fung, directly and indirectly, by use of the means or instruments of transportation or

  communication in interstate commerce and by use of the mails, in the offer or sale of securities,

  as described in this Complaint knowingly, willfully or recklessly employed devices, schemes or

  artifices to defraud.

          95.     By reason of the foregoing, OTC Solutions, Thompson, Pudong, and Fung,

  directly and indirectly, violated and, unless enjoined, are reasonably likely to continue to violate,

  Section 17(a)(1) of the Securities Act, 15 U.S.C. § 77q(a)(1).




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                                             COUNT III

                             Fraud in the Offer or Sale of Securities in
                     Violation of Section 17(a)(2) and (3) of the Securities Act
                (Against Defendants OTC Solutions, Thompson, Pudong, and Fung)

         96.      The Commission repeats and realleges Paragraphs 1-21, 27-29, 31, 32, and 65-86

  of its Complaint.

         97.      From January through March 2010, OTC Solutions, Thompson, Pudong, and

  Fung, directly and indirectly, by use of the means or instruments of transportation or

  communication in interstate commerce and by use of the mails, in the offer or sale of securities:

         (a)      obtained money or property by means of untrue statements of material
                  facts and omissions to state material facts necessary to make the
                  statements made, in the light of the circumstances under which they were
                  made, not misleading; or
         (b)      engaged in transactions, practices and courses of business which operated
                  as a fraud or deceit upon purchasers and prospective purchasers of such
                  securities.

         98.      By reason of the foregoing, OTC Solutions, Thompson, Pudong, and Fung,

  directly and indirectly, violated and, unless enjoined, are reasonably likely to continue to violate,

  Section 17(a)(2) and (3) of the Securities Act, 15 U.S.C. §§ 77q(a)(3) and 77q(a)(3).

                                              COUNT IV

                             Fraud in the Offer or Sale of Securities in
                          Violation of Section 17(b) of the Securities Act
                (Against Defendants OTC Solutions, Thompson, Pudong, and Fung)

         99.      The Commission repeats and realleges Paragraphs 1-21, 27-29, 31, 32, and 65-86

  of its Complaint.

         100.     From January through March 2010, OTC Solutions, Thompson, Pudong, and

  Fung, by the use of the means or instruments of transportation or communication in interstate




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  commerce or by the use of the mails, published, gave publicity to, or circulated communications

  that, though not purporting to offer securities for sale, described certain securities.

         101.    OTC Solutions, Thompson, Pudong, and Fung received consideration for such

  activities from or on behalf of the issuer of these securities and did not fully disclose the receipt

  of such consideration and the amounts.

         102.    By reason of the foregoing, OTC Solutions, Thompson, Pudong, and Fung,

  directly or indirectly, have violated and, unless enjoined, are reasonably likely to continue to

  violate, Section 17(b) of the Securities Act, 15 U.S.C. § 77q(b).

                                               COUNT V

                  Fraud in Connection with the Purchase or Sale of Securities in
                  Violation of Section 10(b) and Rule 10b-5 of the Exchange Act
                        (Against Defendants Recycle Tech and Gonzalez)

         103.    The Commission repeats and realleges Paragraphs 1-33, 47-64, 77-81, and 87-88

  of its Complaint.

         104.    From January 2010 through March 2010, Recycle Tech and Gonzalez directly and

  indirectly, by use of the means and instrumentalities of interstate commerce, and of the mails in

  connection with the purchase or sale of securities, as described herein, knowingly, willfully, or

  recklessly:

         (a)     employed devices, schemes or artifices to defraud;

         (b)     made untrue statements of material facts and omitted to state material facts
                 necessary in order to make the statements made, in the light of the
                 circumstances under which they were made, not misleading; or

         (c)     engaged in acts, practices and courses of business which have operated as
                 a fraud upon the purchasers of such securities.




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         105.    By reason of the foregoing, Recycle Tech and Gonzalez violated and, unless

  enjoined, are reasonably likely to continue to violate, Section 10(b) of the Exchange Act, 15

  U.S.C. § 78j(b), and Rule 10b-5, 17 C.F.R. § 240.10b-5.

                                              COUNT VI

                                 Aiding and Abetting Violations of
                         Section 10(b) and Rule 10b-5 of the Exchange Act
                                   (Against Defendant Gonzalez)

         106.    The Commission repeats and realleges Paragraphs 1-33, 47-64, 77-81, and 87-88

  of its Complaint.

         107.    From January 2010 through March 2010, Recycle Tech directly and indirectly, by

  use of the means and instrumentalities of interstate commerce, and of the mails in connection

  with the purchase or sale of securities, as described herein, knowingly, willfully, or recklessly:

         (a)     employed devices, schemes or artifices to defraud;

         (b)     made untrue statements of material facts and omitted to state material facts
                 necessary in order to make the statements made, in the light of the
                 circumstances under which they were made, not misleading; or

         (c)     engaged in acts, practices and courses of business which have operated as
                 a fraud upon the purchasers of such securities.

         108.    Gonzalez, from no later than January 2010 through March 2010, knowingly or

  recklessly substantially assisted Recycle Tech’s violations of Section 10(b) of the Exchange Act,

  15 U.S.C. § 78j(b), and Rule 10b-5 thereunder, 17 C.F.R § 240.10b-5.

         109.    By reason of the foregoing, Gonzalez violated and, unless enjoined, is reasonably

  likely to continue to, assist violations of Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b),

  and Rule 10b-5, 17 C.F.R. § 240.10b-5.




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                                             COUNT VII

                                 Aiding and Abetting Violations of
                         Section 10(b) and Rule 10b-5 of the Exchange Act
                                     (Against Defendant Sepe)

         110.    The Commission repeats and realleges Paragraphs 1-33, 47-64, 77-81, and 87-88

  of its Complaint.

         111.    From January 2010 through March 2010, Recycle Tech directly and indirectly, by

  use of the means and instrumentalities of interstate commerce, and of the mails in connection

  with the purchase or sale of securities, as described herein, knowingly, willfully, or recklessly:

         (a)     employed devices, schemes or artifices to defraud;
         (b)     made untrue statements of material facts and omitted to state material facts
                 necessary in order to make the statements made, in the light of the
                 circumstances under which they were made, not misleading; or

         (c)     engaged in acts, practices and courses of business which have operated as
                 a fraud upon the purchasers of such securities.

         112.    Sepe, from no later than January 2010 through March 2010, knowingly or

  recklessly substantially assisted Recycle Tech’s violations of Section 10(b) of the Exchange Act,

  15 U.S.C. § 78j(b), and Rule 10b-5 thereunder, 17 C.F.R § 240.10b-5.

         113.    By reason of the foregoing, Sepe aided and abetted Recycle Tech’s violations of

  Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5, 17 C.F.R. § 240.10b-5

  and, unless enjoined, is reasonably likely to continue to assist violations of Section 10(b) of the

  Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5, 17 C.F.R. § 240.10b-5.




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                                             COUNT VIII

                                  Aiding and Abetting Violations of
                      Section 10(b) and Rule 10b-5(a) &(c) of the Exchange Act
                                    (Against Defendant Halperin)

         114.     The Commission repeats and realleges Paragraphs 1-33, 47-64, 66, 77-82, and 87-

  88 of its Complaint.

         115.     From January 2010 through March 2010, Recycle Tech directly and indirectly, by

  use of the means and instrumentalities of interstate commerce, and of the mails in connection

  with the purchase or sale of securities, as described herein, knowingly, willfully, or recklessly:

         (a)      employed devices, schemes or artifices to defraud; or

         (c)      engaged in acts, practices and courses of business which have operated as
                  a fraud upon the purchasers of such securities.

         116.     Halperin, from no later than January 2010 through March 2010, knowingly or

  recklessly substantially assisted Recycle Tech’s violations of Section 10(b) of the Exchange Act,

  15 U.S.C. § 78j(b), and Rule 10b-5(a) &(c) thereunder, 17 C.F.R § 240.10b-5(a) &(c).

         117.     By reason of the foregoing, Halperin aided and abetted Recycle Tech’s violations

  of Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5(a) &(c), 17 C.F.R. §

  240.10b-5(a) &(c) and, unless enjoined, is reasonably likely to continue to assist violations of

  Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5(a) &(c), 17 C.F.R. §

  240.10b-5(a) &(c).

                                              COUNT IX

                  Fraud in Connection with the Purchase or Sale of Securities in
                   Violation of Section 10(b) and Rule 10b-5 of the Exchange Act
                (Against Defendants OTC Solutions, Thompson, Pudong, and Fung)

         118.     The Commission repeats and realleges Paragraphs 1-21, 27-29, 31, 32, and 65-86

  of its Complaint.

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         119.    From January 2010 through March 2010, OTC Solutions, Thompson, Pudong,

  and Fung directly and indirectly, by use of the means and instrumentalities of interstate

  commerce, and of the mails in connection with the purchase or sale of securities, as described

  herein, knowingly, willfully, or recklessly:

         (a) employed devices, schemes or artifices to defraud;

         (b) made untrue statements of material facts and omitted to state material facts
             necessary in order to make the statements made, in the light of the
             circumstances under which they were made, not misleading; or or

         (c) engaged in acts, practices and courses of business which have operated as a
             fraud upon the purchasers of such securities.

         120.    By reason of the foregoing, OTC Solutions, Thompson, Pudong, and Fung

  violated and, unless enjoined, are reasonably likely to continue to violate, Section 10(b) of the

  Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5, 17 C.F.R. § 240.10b-5.


                                                 COUNT X

                                   Violation of Section 13(a) and
                            Rules 13a-1 and 13a-13 of the Exchange Act
                                (Against Defendant Recycle Tech)

         121.    The Commission repeats and realleges Paragraphs 1-21, 27-32, and 88 of its

  Complaint.

         122.    By failing to file with the Commission annual and quarterly reports on Form 10-

  KSB and Form 10-QSB since January 13, 2010, Recycle Tech violated, and unless restrained

  and enjoined will continue to violate, Section 13(a) of the Exchange Act, 15 U.S.C. § 78m(a),

  and Exchange Act Rules 13a-l and 13a-13.




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     1:12-cv-21656-JAL   Document
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                                               COUNT XI

                        Aiding and Abetting Violation of Section 13(a) and
                           Rules 13a-1 and 13a-13 of the Exchange Act
                                  (Against Defendant Gonzalez)

         123.    The Commission repeats and realleges Paragraphs 1-21, 27-32, and 88 of its

  Complaint.

         124.    By failing to file with the Commission annual and quarterly reports on Form 10-

  KSB and Form 10-QSB since January 13, 2010, Recycle Tech violated, and unless restrained

  and enjoined will continue to violate, Section 13(a) of the Exchange Act, 15 U.S.C. § 78m(a),

  and Exchange Act Rules 13a-l and 13a-13.

         125.    Gonzalez knowingly provided substantial assistance to Recycle Tech's violation

  of Section 13(a) of the Exchange Act, 15 U.S.C. § 78m(a), and Exchange Act Rules 13a-l and

  13a-13, 17 C.F.R. §§ 240.13a-1 and 240.13a-13.

         126.    By engaging in the conduct described above and pursuant to Section 20(e) of the

  Exchange Act, 15 U.S.C. § 78t(e), Gonzalez aided and abetted Recycle Tech’s violations, and

  unless restrained and enjoined will continue to aid and abet violations, of Section 13(a) of the

  Exchange Act, 15 U.S.C. § 78m(a), and Exchange Act Rules 13a-1 and 13a-13, 17 C.F.R. §§

  240.13a-1, and 240.13a-13.

                                       RELIEF REQUESTED

         WHEREFORE, the Commission respectfully requests that the Court:

                                                    I.

                                            Declaratory Relief

         Declare, determine, and find that the Defendants have committed the violations of the

  federal securities laws alleged herein.


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Case   2:16-cv-00074-DAK
     1:12-cv-21656-JAL   Document
                       Document   22-1 Filed
                                1 Entered    08/08/17
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                                                  II.

                                    Permanent Injunctive Relief

         Issue permanent injunctions pursuant to Rule 65(d) of the Federal Rules of Civil

  Procedure enjoining all Defendants, their agents, servants, employees, attorneys, and all persons

  in active concert or participation with him, from directly or indirectly violating Sections 5(a),

  5(c) of the Securities Act, 15 U.S.C. §§ 77e(a) and 77e(c), and enjoining:

         (a)     Recycle Tech, its agents, servants, employees, attorneys, and all persons in
                 active concert or participation with it, from directly or indirectly violating
                 Sections 10(b) and 13(a) of the Securities Exchange Act of 1934
                 (“Exchange Act”), 15 U.S.C. § 78j(b) and 78m, and Exchange Act Rules
                 10b-5, 13a-1 and 13a-13, 17 C.F.R. §§ 240.10b-5, 240.13a-1, and
                 240,13a-13;

         (b)     Gonzalez, his agents, servants, employees, attorneys, and all persons in
                 active concert or participation with him, from directly or indirectly
                 violating Section 10(b) of the Exchange Act and Exchange Act Rule 10b-5
                 and Section 13(a) of the Exchange Act and Exchange Act Rules 13a-1 and
                 13a-13;

         (c)     Sepe and Halperin, their agents, servants, employees, attorneys, and all
                 persons in active concert or participation with them, from directly or
                 indirectly violating Section 10(b) of the Exchange Act and Exchange Act
                 Rule 10b-5; and

         (d)     OTC Solutions, Pudong, Thompson, and Fung, their agents, servants,
                 employees, attorneys, and all persons in active concert or participation
                 with him, from directly or indirectly violating Section 10(b) of the
                 Exchange Act, Exchange Act Rule 10b-5, and Sections 17(a) and 17(b) of
                 the Securities Act, 15 U.S.C. §§ 77q(a) and 77q(b).

                                                  III.

                                            Disgorgement

         Issue an Order directing Sepe, Halperin, OTC Solutions, Thompson, Pudong, Fung, Rees,

  and Charter Consulting to disgorge all ill-gotten gains, including prejudgment interest, resulting

  from the acts or courses of conduct alleged in this Complaint.


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                                                   IV.

                                                Penalties

            Issue an Order directing Sepe, Halperin, Gonzalez, OTC Solutions, Thompson, Pudong,

  Fung, and Rees to pay civil money penalties pursuant to Section 20(d) of the Securities Act, 15

  U.S.C. § 77t(d), and Section 21(d) of the Exchange Act, 15 U.S.C. § 78u(d).

                                                   V.

                                           Penny Stock Bar

            Issue an order barring Gonzalez, Sepe, Halperin, Thompson, and Fung from participating

  in any offering of penny stock, pursuant to Section 20(g) of the Securities Act, 15 U.S.C. §

  77t(g), and Section 21(d) of the Exchange Act,15 U.S.C. § 78u(d), for the violations alleged

  herein.

                                                   VI.

                                       Officer and Director Bar

            Issue an order barring Gonzalez and Halperin from acting as an officer or director of any

  public company pursuant to Section 21(d) of the Exchange Act, 15 U.S.C. § 78u(d), for the

  violations alleged herein.

                                                  VII.

                                       Professional Services Bar

            Issue an order barring Rees from providing professional legal services to any person in

  connection with the offer or sale of securities pursuant to, or claiming, an exemption under

  Section 4(1) of the Securities Act, including, without limitation, participating in the preparation

  or issuance of any opinion letter related to such offerings based on his violations of Sections 5(a)

  and 5(c) of the Securities Act, 15 U.S.C. §§ 77e(a) and 77e(c).

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                                                  VIII.


                                              Further Relief


          Grant such other and further relief as may be necessary and appropriate.

                                                   IX.


                                      Retention of Jurisdiction


          Further, the Commission respectfully requests that the Court retain jurisdiction over this

  action in order to implement and carry out the terms of all orders and decrees that it may enter, or

  to entertain any suitable application or motion by the Commission for additional relief within the

  jurisdiction of this Court.




                                                 Respectfullysubmitted


  May 2,2012                            By:
                                                 Jams M. Carlson
                                                 Senior Trial Counsel
                                                 S.D. Florida Bar # A5501534
                                                 Telephone: (305) 982-6328
                                                 Facsimile: (305) 536-4154
                                                 E-mail: CarlsonJa@sec.gov


                                                 Attorney for Plaintiff
                                                 SECURITIES AND EXCHANGE
                                                 COMMISSION
                                                 801 Brickell Avenue, Suite 1800
                                                 Miami, Florida 33131
                                                 Telephone: (305) 982-6300
                                                 Facsimile: (305)536-4154




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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     United States District Court
                                                                 for the

                                                      Southern District of Florida


    SECURITIES AND EXCHANGE COMMISSION


                             Plaintiff

                                V.                                         Civil Action No.
  Recycle Tech, Inc., Kevin Sepe, Ronny J. Halperin,
     Ryan Gonzalez, OTC Solutions LLC, et al.
                            Defendant


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Recycle Tech, Inc.
                                         2039 NW 1st Place
                                         Miami, FL 33127




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not countingthe day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee ofthe United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: James M. Carlson, Esq.
                                         Senior Trial Counsel
                                         Securities and Exchange Commission
                                         801 Brickell Avenue, Suite 1800
                                         Miami, FL 33131
                                         Tel. (305) 982-6328

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT



Date:
                                                                                         Signature ofClerk or Deputy Clerk




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    Case    2:16-cv-00074-DAK
         1:12-cv-21656-JAL     Document
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AO440 (Rev. 12/09) Summonsin a Civil Action


                                   United States District Court
                                                               for the

                                                    Southern District of Florida


    SECURITIES AND EXCHANGE COMMISSION


                           Plaintiff

                              V.                                         Civil Action No.

  Recycle Tech, Inc., Kevin Sepe, Ronny J. Halperin,
      Ryan Gonzalez, OTC Solutions LLC, et al.
                           Defendant


                                                SUMMONS IN A CIVIL ACTION


To: (Defendant's name and address) Kevin Sepe
                                   17961 Biscayne Blvd., Suite B-1
                                       Aventura, FL 33160




         A lawsuit has been filed against you.

        Within 21 days after service of this summonson you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officeror employee of the United States described in Fed. R. Civ.
P. 12(a)(2) or (3) — you mustserveon the plaintiffan answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: James M. Carlson, Esq.
                                       Senior Trial Counsel
                                       Securities and Exchange Commission
                                       801 Brickell Avenue, Suite 1800
                                       Miami, FL 33131
                                       Tel. (305) 982-6328

         If you fail to respond, judgment by defaultwill be entered againstyou for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT



Date:
                                                                                       Signature ofClerk or Deputy Clerk




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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     United States District Court
                                                                 for the

                                                      Southern District of Florida


    SECURITIES AND EXCHANGE COMMISSION
                                                                   )
                                                                   )
                             Plaintiff
                                                                   )
                                v.                                 )       Civil Action No.
  Recycle Tech, Inc., Kevin Sepe, Ronny J. Halperin,               )
        Ryan Gonzalez, OTC Solutions LLC, et al.                   )
                            Defendant                              '


                                                  SUMMONS IN A CIVIL ACTION


To: (Defendant's name and address) Ronny Halperin
                                         Ronny Halperin, PA
                                         17961 Biscayne Blvd., Suite B-1
                                         North Miami Beach, FL 33160




         A lawsuit has been filed against you.

         Within 21 days after service ofthis summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: James M. Carlson, Esq.
                                         Senior Trial Counsel
                                         Securities and Exchange Commission
                                         801 Brickell Avenue, Suite 1800
                                         Miami, FL 33131
                                         Tel. (305) 982-6328

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT



Date:
                                                                                        Signature ofClerk or Deputy Clerk




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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     United States District Court
                                                                  for the

                                                       Southern District of Florida


    SECURITIES AND EXCHANGE COMMISSION


                             Plaintiff

                                                                            Civil Action No.
  Recycle Tech, Inc., Kevin Sepe, Ronny J. Halperin,
     Ryan Gonzalez, OTC Solutions LLC, et al.
                            Defendant


                                                     SUMMONS IN A CIVIL ACTION


To: (Defendant's name andaddress) Ryan Gonzalez
                                         President
                                         Recycle Tech, Inc.
                                         2039 NW 1st Place
                                         Miami, FL 33127



         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiffan answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: James M. Carlson, Esq.
                                         Senior Trial Counsel
                                         Securities and Exchange Commission
                                         801 Brickell Avenue, Suite 1800
                                         Miami, FL 33131
                                         Tel. (305) 982-6328

         If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT



Date:
                                                                                         Signature ofClerk or Deputy Clerk




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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     United States District Court
                                                                  for the

                                                       Southern District of Florida


    SECURITIES AND EXCHANGE COMMISSION


                             Plaintiff

                                                                            Civil Action No.
  Recycle Tech, Inc., Kevin Sepe, Ronny J. Halperin,
      Ryan Gonzalez, OTC Solutions LLC, et al.
                            Defendant


                                                     SUMMONS IN A CIVIL ACTION


To: (Defendant's name andaddress) OTC Solutions LLC
                                         Anthony J. Thompson, Jr., Managing Director
                                         4424 Montgomery Avenue
                                         Suite 201
                                         Bethesda, MD 20814



          A lawsuit has been filed against you.

        Within 21 daysafterservice of this summons on you(notcounting the dayyou received it) — or 60 days if you
arethe United Statesor a United States agency, or an officeror employee of the United States described in Fed. R. Civ.
P. 12(a)(2) or (3) — you must serve on the plaintiffan answerto the attached complaintor a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: James M. Carlson, Esq.
                                         Senior Trial Counsel
                                         Securities and Exchange Commission
                                         801 Brickell Avenue, Suite 1800
                                         Miami, FL 33131
                                         Tel. (305) 982-6328

          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT



Date:
                                                                                          Signature ofClerkor Deputy Clerk




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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     United States District Court
                                                                  for the

                                                       Southern District of Florida


    SECURITIES AND EXCHANGE COMMISSION


                             Plaintiff

                                V.                                          Civil Action No.
  Recycle Tech, Inc., Kevin Sepe, Ronny J. Halperin,
     Ryan Gonzalez, OTC Solutions LLC, et al.
                            Defendant


                                                     SUMMONS IN A CIVIL ACTION


To: (Defendant's name and address) Anthony J. Thompson, Jr.
                                         OTC Solutions LLC
                                         4424 Montgomery Avenue
                                         Suite 201
                                         Bethesda, MD 20814



          A lawsuit has been filed against you.

        Within 21 days after service of this summonson you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12(a)(2)or (3) — you must serve on the plaintiffan answerto the attached complaintor a motion under Rule 12of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: James M. Carlson, Esq.
                                         Senior Trial Counsel
                                         Securities and Exchange Commission
                                         801 Brickell Avenue, Suite 1800
                                         Miami, FL 33131
                                         Tel. (305) 982-6328

          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT



Date:
                                                                                          Signature ofClerk or Deputy Clerk




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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     United States District Court
                                                                 for the

                                                      Southern District of Florida


    SECURITIES AND EXCHANGE COMMISSION

                             Plaintiff

                                V.                                         Civil Action No.
  Recycle Tech, Inc., Kevin Sepe, Ronny J. Halperin,
      Ryan Gonzalez, OTC Solutions LLC, et al.
                            Defendant


                                                  SUMMONS IN A CIVIL ACTION


To: (Defendant's name andaddress) Pudong LLC
                                  Jay Fung, Member
                                  900 North Federal Highway 200
                                         Boca Raton, FL 33432




          A lawsuit has been filed against you.

         Within 21 daysafterservice of thissummons on you(notcounting the dayyou received it)— or 60 days if you
arethe United Statesor a United States agency, or an officeror employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiffan answerto the attached complaintor a motion under Rule 12of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: James M. Carlson, Esq.
                                         Senior Trial Counsel
                                         Securities and Exchange Commission
                                         801 Brickell Avenue, Suite 1800
                                         Miami, FL 33131
                                         Tel. (305) 982-6328

          If you fail to respond, judgment by defaultwill be entered againstyou for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT



Date:
                                                                                         Signature ofClerk or Deputy Clerk




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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     United States District Court
                                                                 for the

                                                      Southern District of Florida


    SECURITIES AND EXCHANGE COMMISSION
                                                                   )
                                                                   )
                             Plaintiff
                                                                   )
                                v.                                 )       Civil Action No.
  Recycle Tech, Inc., Kevin Sepe, Ronny J. Halperin,               )
        Ryan Gonzalez, OTC Solutions LLC, et al.                    )
                            Defendant                              f

                                                  SUMMONS IN A CIVIL ACTION


To: (Defendant's name and address) Jay Fung
                                         Pudong LLC
                                         900 North Federal Highway 200
                                         Boca Raton, FL 33432




          A lawsuit has been filed against you.

         Within 21 days after service of this summonson you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: James M. Carlson, Esq.
                                         Senior Trial Counsel
                                         Securities and Exchange Commission
                                         801 Brickell Avenue, Suite 1800
                                         Miami, FL 33131
                                         Tel. (305) 982-6328

          Ifyou fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT



Date:
                                                                                         Signature ofClerk or Deputy Clerk




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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     United States District Court
                                                                  for the

                                                      Southern District of Florida


    SECURITIES AND EXCHANGE COMMISSION
                                                                    )
                                                                    )
                             Plaintiff
                                                                    )
                                v.                                  )       Civil Action No.
  Recycle Tech, Inc., Kevin Sepe, Ronny J. Halperin,                )
        Ryan Gonzalez, OTC Solutions LLC, et al.                    )
                            Defendant                               '


                                                  SUMMONS IN A CIVIL ACTION


To: (Defendant's name andaddress) David Rees
                                  c/o Paul T. Moxley
                                  Parsons Kinghorn Harris
                                  111 East Broadway, 11th Floor
                                  Salt Lake City, Utah 84111



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whosename and address are:               James M. Carlson, Esq.
                                         Senior Trial Counsel
                                         Securities and Exchange Commission
                                         801 Brickell Avenue, Suite 1800
                                         Miami, FL 33131
                                         Tel. (305) 982-6328

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT



Date:
                                                                                         Signature ofClerk or Deputy Clerk




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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     United States District Court
                                                                 for the

                                                      Southern District of Florida


    SECURITIES AND EXCHANGE COMMISSION

                             Plaintiff
                                                                           Civil Action No.
  Recycle Tech, Inc., Kevin Sepe, Ronny J. Halperin,
      Ryan Gonzalez, OTC Solutions LLC, et al.
                            Defendant


                                                  SUMMONS IN A CIVIL ACTION


To: (Defendant's name andaddress) Charter Consulting Group, Inc.
                                  4770 Biscayne Blvd. Ste 1400
                                         Miami, FL 33137




          A lawsuit has been filed against you.

        Within 21 days after service ofthis summons on you (not countingthe day you received it) — or 60 days if you
are the United Statesor a United States agency,or an officeror employee of the United States described in Fed. R. Civ.
P. 12(a)(2)or (3) — you must serve on the plaintiffan answerto the attached complaint or a motion under Rule 12of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: James M. Carlson, Esq.
                                         Senior Trial Counsel
                                         Securities and Exchange Commission
                                         801 Brickell Avenue, Suite 1800
                                         Miami, FL 33131
                                         Tel. (305) 982-6328

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT



Date:
                                                                                         Signature ofClerk or Deputy Clerk




                                                                                                             Apx. 039
